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United States District Court, Northern District of Minois

 

 

 

 

 

Name of Assigned Jud Sitting Judge if Oth
vor Magistrate Judge Joan H. Lefkow than Assigned Judge
CASE NUMBER 00 C 5755 DATE 11/7/2001
CASE Ladegaard vs. Hard Rock Concrete Cutters, Inc., et al.
TITLE

 

 

{In the following box (a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature

of the motion being presented.]

 

 

 

(11)

 

 

 

 

 

defendants’ fourth affirmative defense, void the releases, and require notice be sent regarding the void
releases [57-1] is granted. The court orders the parties to prepare a notice for court approval informing
all potential plaintiffs who have been provided a release that such release is unenforceable in its entirety
and otherwise advising them of the opportunity to participate in the lawsuit. Status hearing is set for

11/26/01 at 9:30 a.m.

{For further detail see order attached to the original minute order.]

MOTION:

DOCKET ENTRY:

) O Filed motion of [ use listing in “Motion” box above.]

(2) O Brief in support of motion due

(3) OH Answer brief to motion due . Reply to answer brief due

(4) O Ruling/Hearing on set for at

(5) O Status hearing[held/continued to] [set for/re-set for]on___—ssetfor__—_at

(6) O Pretrial conference[held/continued to] [set for/re-set for] on set for at

(7) O Trial[set for/re-set for]on_ sat

(8) O [Bench/Jury trial] [Hearing] held/continued to___— att

(9) O This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]
OFRCP4(m) (1) General Rule21 [FRCP41(a)(1) UO FRCP41(a)(2).

go) [Other docket entry] Enter Memorandum Opinion and Order. Plaintiffs’ motion to strike

 

 

 

 

 

 

 

 

No notices required, advised in open court.
No notices required.

Notices mailed by judge’s staff.

Notified counsel by telephone.

Docketing to mail notices.

Mail AO 450 form.

Copy to judge/magistrate judge.

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
SEAN LADEGAARD, et al. )
Plaintiffs,
Vv. ) No. 00 C 5755
HARD ROCK CONCRETE )
CUTTERS, INC., et al. )
Defendants. ) boc KETE D

NOV © 9 2001
MEMORANDUM OPINION AND ORDER

Presently before the court is plaintiffs’ motion to strike defendants’ fourth affirmative
defense (which asserts the defense of release as to certain potential class members), void the
releases, and require defendants to send a court-approved notice to all potential class members
indicating that the releases are void. Plaintiffs attach a copy of the release and letter that
defendants sent to individual potential class members. The letter states, in part:

It has come to our attention that there has been a claim that some
employees have not been paid properly, including for time spent in safety
meetings.

We believe that the Company has fairly and properly compensated
employees for all hours worked. Nevertheless, we want to be sure that all
employees are satisfied with their experience at the Company. We therefore have

decided to offer you some additional compensation for your work at the Company.

To that end, we have sent you the enclosed agreement. As you can see, it
provides that you be paid a sum of money in return for signing a release. ...

(See Pls.’ Mem. in Supp. of Mot., Ex. A.) The attached release states:
 

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RELEASE

This Release is entered into between (“Employee”), and Hard
Rock Concrete Cutters, Inc. and its owners (collectively, the “Company”).

Within fourteen days of Employee’s execution and delivery of this
Release, the Company will pay Employee the sum of $__, less applicable tax
withholdings.

In return, Employee fully releases, acquits, and forever discharges the
Company from any and all charges, actions, causes of actions, claims, grievances,
damages, costs, expenses, attorneys’ fees or any other liability relating to claims
for overtime or straight-time compensation under the Fair Labor Standards Act,
the Illinois Minimum Wage Law, and/or the Illinois Wage Payment and
Collection Act through the date of the execution of this Release. Employee does
not release any other claims against the Company, such as claims for workers’
compensation.

Employee acknowledges and understands that:

- if Employee signs this Release, Employee will have given
up any right to sue or be any part of any suit for back wages
under the laws described above;

- Employee has the right to consult an attorney before
executing this Release;

- Employee does not have to sign this Release, and the
Company will treat and regard Employee the same way
whether or not Employee signs this Release; and

- Employee is entering into this Agreement knowingly,
voluntarily, and with full knowledge of its significance.
Employee has not been coerced, threatened, or intimidated
into signing this Agreement.

If this release is held invalid or unenforceable, Employee will tender back
to the Company the payment made in consideration for this Release.

(id.)
___.....-___Case+4:00-er-05755 Decument#-75-Filed: 44/07/04 Page -4-of 47 PagelD #:56

DISCUSSION

On a motion to strike, “the court may order stricken from any pleading any insufficient
defense... .” Fed. R. Civ. P. 12(f). “Affirmative defenses will be stricken only when they are
insufficient on the face of the pleadings.” Heller Fin., Inc. v. Midwhey Powder Co., 883 F.2d
1286, 1294 (7" Cir. 1989) (citation omitted). “Ordinarily, defenses will not be struck if they are
sufficient as a matter of law or if they present questions of law or fact.” Jd. (citation omitted).
Plaintiffs argue that the defense should be stricken because the releases are void as a matter of
law in that (1) the releases were sent in conjunction with notice to the class, and notice is within
the purview of the court; (2) waiver of claims is prohibited under the Fair Labor Standards Act
(“FLSA”), Illinois Minimum Wage Law (“IMWL”), and Illinois Wage Payment and Collection
Act (“IWPCA”); and (3) the releases were obtained through misrepresentation or coercive threat
of economic sanctions.

Plaintiffs’ first argument is unavailing. For support, plaintiffs rely on a minute order in
O’Brien v. Encotech Constr. Servs., Inc., No. 00 C 1155, in which Judge Gottschall prohibited
defendant in that case from soliciting or accepting further releases because the court had not had
the opportunity to determine whether the notice accompanying the release was fair. (Minute
Order, October 6, 2000.) Similarly, in this case, after plaintiffs made an emergency motion to
restrain defendants’ communications with potential class members, this court resolved the
motion by noting, on the record, defendants’ agreement not to contact potential class members
about the suit pending disposition of the motion for class certification. (See Minute Order, 00 C
5755, October 5, 2000.) Although Judge Gottschall, in her October 6 order, recognized that

defendant’s conduct in sending out the letter and releases threatened the court’s ability to handle
notice to the class in an accurate and fair manner, on a later motion by plaintiff in O’Brien, she
did not invalidate the releases for that reason. See O’Brien v. Encotech Constr. Servs., Inc, __
F.R.D._, 2001 WL 1181236, *2 (N.D. Ill. Sept. 19, 2001) (noting that in general a party in
class litigation may attempt to settle with individual potential class members) (citing Jn re
Painewebber Ltd. Partnerships Litig., 147 F.3d 132, 137 (2d Cir. 1998)). Therefore, plaintiffs’
first argument fails, Plaintiffs’ third argument, that the releases are void because they were
obtained by misrepresentation or threat, is also unavailing at this stage. Releases can “be proved
invalid through ‘clear and convincing evidence’ that the agreements were products of ‘fraud,
duress, mutual mistake or unconscionability.’”” O’Brien, 2001 WL 1181236 at *2 (quoting
Gavery v. Altheimer and Gray, 1996 WL 521400, *3 (N.D. IH. Sept. 11, 1996)). Plaintiffs admit,
however, that the “methods, promises, and coercion utilized to obtain the ‘Releases’ are presently
unknown as Defendants have not responded to any discovery’” (see Pls.’ Mem. at 2), and
plaintiffs’ assertion that they “have established that the ‘Release’ has gross legal
misrepresentations,” id. at 5, does not, without more, suffice to meet plaintiffs’ burden that the
releases were obtained by fraud or duress.

Plaintiffs’ second argument has merit, however. Plaintiffs argue that waivers of FLSA,
IMWL and IWPCA claims are void as a matter of public policy. Defendants rightly concede that
the releases are void as a matter of law as to the FLSA claims. See Defs.’ Resp. at 5, n.1
(“Defendants do not assert that any class members have released FLSA claims[.]”). See
Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697 (1945); Walton v. United Consumer Club, Inc., 786
F.2d 303, 306 (7" Cir. 1986) (“Courts .. . have refused to enforce wholly private settlements” of

FLSA claims.) (citation omitted); O’Brien, 2001 WL 1181236 at *2 (same). Defendants
as . . 7 .

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contend, however, that the releases are valid as to the IMWL and WPCA claims and request that
the court sever the invalid portion and/or give effect to the remaining portion of the agreements,
namely, the release of the IMWL and IWPCA claims.

Plaintiffs argue that the releases are invalid as to the IMWL and WPCA claims as well as
the FLSA claim. The IMWL prohibits employers from employing persons “for a workweek of
more than 40 hours unless such employee receives compensation for his employment in excess of
the hours above specified at a rate of not less than 1% times the regular rate at which he is
employed.” 820 ILCS 105/4a (1999). Plaintiffs point to language in the IMWL, which states

[ilt is against public policy for an employer to pay to his employees an amount

less than that fixed by this Act. Payment of any amount less than herein fixed is

an unreasonable and oppressive wage, and less than sufficient to meet the

minimum cost of living necessary for health. Any contract, agreement or

understanding for or in relation to such unreasonable and oppressive wage for any

employment covered by this Act is void
820 ILCS 105/2, and contend that the releases are a contract for an “unreasonable and oppressive
wage” because they are for less than that required by the IMWL and, as such, are void. The
IWPCA provides that employers must pay “every employee all wages earned during the [payroll]
period” 820 ILCS 115/3 (1999), and prohibits deductions from wages OF final compensation
unless the deductions meet one of the enumerated conditions for deductions found at 820 ILCS
115/9. IWPCA regulations set forth the method by which an employer must provide notice of
disputed deductions to the employee, see 56 Ill. Admin. Code § 300.930, and prohibit an

employer from using the “Ta|cceptance by an employee of a disputed paycheck {as}... evidence

that the employee has agreed to the deduction in question.” Id. at § 300.920.' Plaintiffs assert

' Although not cited by plaintiffs, 820 ILCS 115/9 (which was amended July 20, 2001 but did not change
the portion quoted below) also states (similar to § 300.920) that:
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that the unpaid wages they seek to recover under the IWPCA do not fit into any one of the
permitted deduction exceptions, that defendants did not avail themselves of the sole method for
withholding deductions, that acceptance of a disputed paycheck is not evidence of agreement to
the deduction and, as such, any agreement about the unpaid wages (i.e. in the form of the release)
is void. Plaintiffs further contend that, as a general matter, the IMWL and IWPCA represent
social legislation intended to provide minimum standards to employees and that because these
statutes embody the public interest, they cannot, as a matter of law, be waived. (See Pls.” Mem.
in Supp. of Mot. at 4-5) (analogizing to the Supreme Court’s analysis of the nonwaivable nature
of FLSA claims in Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 704 (1945).

Although Judge Gottschall concluded in O’Brien that releases of the IMWL and IWPCA
claims were not void as a matter of law and therefore invalidated only the portion of the release
pertaining to the FLSA claims, see O’Brien, 2001 WL 1181236, at *3, this court respectfully
disagrees. The court agrees with O’Brien that under I!inois law, which both parties concede
applies to the determination of whether the releases are void, it is a general rule that “[p]ublic
policy favors the peaceful and voluntary resolution of claims and when there has been such
resolution, a presumption of its validity is created.” Blaylock v. Toledo, Peoria & Western R.R.

Co., 43 IH. App. 3d 35, 356 N.E.2d 639, 641 (3d Dist. 1976); see also O’Brien, 2001 WL

 

In case of a dispute over wages, the employer shall pay, without condition and
within the time set by this Act, all wages or parts thereof, conceded by him to be
due, leaving to the employee all remedies to which he may otherwise be entitled
as to any balance claimed. The acceptance by an employee of a disputed
paycheck shall not constitute a release as to the balance of his claim and any
release or restrictive endorsement required by an employer as a condition to
payment shall be a violation of this Act and shall be void,

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1181236 at *2 (quoting Gavery, 1996 WL §21400, at *2) (quoting Blaylock, supra). However,
while recognizing the freedom to contract, it is also the rule in Illinois that agreements that are
contrary to public policy as reflected in the laws of the state or have a “tendency to injure the
public welfare” are unenforceable. Holstein v. Grossman, 246 Ill. App. 3d 719, 616 N.E.2d
1224, 1229 (1* Dist. 1993) (citation omitted). “The question of whether a contract is enforceable
under considerations of public policy is a conclusion of law and turns on the particular facts and
circumstances of each case.” Jd. (internal citations omitted.) “The overriding objective in
interpreting a statute is to ascertain and give effect to the intent of the legislature. To ascertain
the legislature’s intent, we first look to the plain language of the statute. In addition to the
language chosen by the legislature, the court should consider the reason for the law, the evil to be
remedied, and the purpose to be obtained thereby.” See People ex. rel. the Dep ’t of Labor v. K.
Reinke, Jr. and Co., 319 Ill. App. 3d 721, 746 N.E.2d 12, 15 (1* Dist. 2001) (internal citations
omitted).

Although the statutory language cited by plaintiffs indicating that agreements under the
IMWL for an “unreasonable and oppressive wage” are void, 820 ILCS 105/2, and that
“(ajcceptance by an employee of a disputed paycheck [is not] ... evidence that the employee has

agreed to the deduction in question,” § 300.920, supports plaintiffs’ position that the releases at

 

2The court in O’Brien then reasoned that it was “an open question whether, in the context of the IMWL,
plaintiffs’ wages were unreasonable or oppressive within the meaning of the law or whether, in the context of the
IWPCA, defendants’ practices violated the IWPCA or failed to fall within an exception created by the Act,” and
noting that plaintiffs failed to cite any judicial or statutory language prohibiting private settlements of the state law
claims, held that the releases under the IMWL and IWPCA were not invalid as a matter of law. O’Brien, 2001 WL
1181236 at *3. This court is not aware whether the plaintiffs in O’Brien had presented the court with the argument,
as they have here, that the public policy underlying the IMWL and IWPCA, like the FLSA, bars the releases.

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issue are void as a general matter, the language does not expressly so provide.’ Moreover, as
observed by both plaintiffs and defendants there is a dearth of case law either invalidating or
upholding a release under either of these statutes.? Where there is “an absence of Illinois
decisions dealing with a particular labor law issue, federal decisions dealing with a substantially
similar law, while not controlling, may be helpful and relevant.” Bernardi v. Village of North
Pekin, 135 Ill. App. 3d 589, 482 N.E.2d 101, 102 (3d Dist. 1985) (citing, inter alia, Bd. of
Governors v. Rothbardt, 98 Ill. App. 3d 423, 424 N.E.2d 742 (4" Dist. 1981)).

The Supreme Court’s analysis in Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697 (1945),
finding that FLSA claims are nonwaivable is instructive. The FLSA is substantially similar to
the IMWL in requiring a minimum wage and maximum hours. See 29 U.S.C, §§ 206-07. In
Brooklyn Sav. Bank, the Court was asked to determine whether a party’s written waiver of his
right to liquidated damages under the FLSA barred a subsequent action to recover those
damages. The Court noted the general rule that “[w]here a private right is granted in the public
interest to effectuate a legislative policy, waiver of a right so charged or colored with the public
interest will not be allowed where it would thwart the legislative policy which it was designed to
effectuate.” Jd. at 704. Noting that the question of whether a private right created by federal
statute may be waived depends on the intention of Congress as manifested in the statute, id. at

705, the Court reviewed the statutory language, the legislative reports and debates for that intent.

 

3Notably, however, the provision not cited by plaintiff in 820 ILSC 115/9, supra note 2, does appear to
expressly forbid release of WPCA claims.

4The court found one case in which a plaintiff had argued that under the language of IWPCA, 820 ILCS
115/9 (see supra note 2), the release he signed was void as a matter of law. However, the court did not decide the
issue, instead finding that plaintiff had not adequately alleged a claim under TWPCA. See Hurd v. Wildman,
Harrold, Allen and Dixon, 303 Ill. App. 3d 84, 707 N.E.2d 609, 613-14 (1* Dist. 1999).

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Finding that the question had not been “specifically considered and resolved by Congress,” the
Court “resort[ed] to a broader consideration of the legislative policy behind [the liquidated
damages] provision as evidenced by its legislative history and the provisions in and structure of
the [FLSA].” Jd. at 705-06. It found that the legislative history of the FLSA

... Show[ed] an intent on the part of Congress to protect certain groups of the

population from substandard wages and excessive hours . . . [and t]he statute was

a recognition of the fact that due to the unequal bargaining power as between

employer and employee, certain segments of the population required compulsory

legislation to prevent private contracts on their part which endangered national

health and efficiency. ...
Id. at 706. In light of this purpose, the Court concluded that to allow waiver of statutory wages
by agreement or waiver of the employee’s right to liquidated damages “would nullify the
purposes of the Act.” Id. at 707; see also Barrentine v. Arkansas-Best Freight Sys., Inc., 450
U.S. 728, 740 (1981) (“This Court’s decisions interpreting the FLSA have frequently emphasized
the nonwaivable nature of an individual employee’s right to a minimum wage and to overtime
pay under the Act.”); Walton, 786 F.2d at 306 (The FLSA “is designed to prevent consenting
adults from transacting about minimum wages and overtime pay. Once the Act makes it
impossible to agree on the amount of pay, it is necessary to ban private settlements of disputes
about pay. Otherwise the parties’ ability to settle disputes would allow them to establish sub-
minimum wages.” (citing Lynn’s Food Stores, Inc. v. United States, 697 F.2d 1350, 1352 (11"
Cir. 1982)).

The intent of the Illinois legislature as manifested in the legislative policy section of the
IMWL indicates that releases of claims under the IMWL would frustrate its purpose. The
legislative policy section of the IMWL provides in full:

The General Assembly finds that the existence in industries, trades or business, or

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branches thereof, including offices, mercantile establishments and all other places
of employment in the State of Illinois covered by this Act, of conditions
detrimental to the maintenance of the minimum standard of living necessary for
the health, efficiency and general well-being of workers, leads to labor disputes,
and places burdens on the State, and all other subordinate political bodies thereof,
to assist and supply necessary moneys and goods to workers and their families to
aid them to exist on a minimum budget for their needs, and thus places an
unnecessary burden on the taxpayers of this State. Therefore, it is the policy of
this Act to establish a minimum wage standard for workers at a level consistent
with their health, efficiency and general well-being; to safeguard such minimum
wage against the unfair competition of wage and hour standards which do not
provide such adequate standards of living; and to sustain purchasing power and
increase employment opportunities.

It is against public policy for an employer to pay to his employees an amount less

than that fixed by this Act. Payment of any amount less than herein fixed is an

unreasonable and oppressive wage, and less than sufficient to meet the minimum

cost of living necessary for health. Any contract, agreement or understanding for

or in relation to such unreasonable and oppressive wage for any employment

covered by this Act is void.
820 ILCS 105/2. Not only is the language of the first paragraph of this section strikingly similar
to the language found in the “Congressional finding and declaration of policy” section of the
FLSA, 29 U.S.C. § 202(a),” but the purpose of the IMWL as set forth by Illinois courts is similar
to that of the FLSA. Compare Reinke, 319 Ill. App. 3d 721, 746 N.E.2d at 16 (“Section 2 of the

Minimum Wage Law states that the legislature was concerned about the existence of ‘conditions

detrimental to the maintenance of the minimum standard of living necessary for the health,

 

*(a) The Congress finds that the existence, in industries engaged in commerce or in the production of goods
for commerce, of labor conditions detrimental to the maintenance of the minimum standard of living necessary for
health, efficiency, and general well-being of workers (1) causes commerce and the channels and instrumentalities of
commerce to be used to spread and perpetuate such labor conditions among the workers of the several States; (2)
burdens commerce and the free flow of goods in commerce; (3) constitutes an unfair method of competition in
commerce; (4) leads to labor disputes burdening and obstructing commerce and the free flow of goods in commerce;
and (5) interferes with the orderly and fair marketing of goods in commerce. That Congress further finds that the
employment of persons in domestic service in households affects commerce. (b) It is declared to be the policy of
this chapter, through the exercise by Congress of its power to regulate commerce among the several States and with
foreign nations, to correct and as rapidly as practicable to eliminate the conditions above referred to in such
industries without substantially curtailing employment or earning power. 29 U.S.C. § 202(a)

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ate . ”

efficiency and general well-being of workers.’ 820 ILCS 105/2 (West 1998). Section 2 further
stated that those conditions imposed upon taxpayers the ‘unnecessary burden’ to assist workers.
820 ILCS 105/2/(West 1998).”) with Barrentine, 450 U.S. at 739 (“The principal congressional
purpose in enacting the [FLSA] was to protect all covered workers from substandard wages and
oppressive working hours, ‘labor conditions [that are] detrimental to the maintenance of the
minimum standard of living necessary for health, efficiency and general well-being of
workers.’”) (quoting 29 U.S.C. § 202(a)). See also DeWig v. Landshire, Inc., 281 Ill. App. 3d
138, 666 N.E.2d 1204, 1208 (3d Dist. 1996) (Breslin, J., dissenting) (noting similar purposes
underlying Section 2 of the IMWL and Section 202 of the FLSA). Similarly, although the
IWPCA contains no “legislative policy” section, it has been held that “enforcing the public policy
underlying the IWPCA inures to the benefit of Illinois workers and taxpayers in precisely the way
that the IMWL does.” People ex. rel Martin v. Lipkowitz, 225 Ill. App. 3d 980, 589 N.E.2d 182,
185 (3d Dist 1992) (noting that the purpose of the IWPCA “is to ensure employees receive all
earned benefits upon leaving their employer and the evil it seeks to remedy is the forfeiture of
any of those benefits” and “{ajn employer's denial of benefits earned by its employees burdens
the State financially and socially, such as by decreasing the tax base and potentially depleting
State assistance funds”) (internal quotation omitted); see also Mueller Co. v. Dep't of Labor, 187
Il. App. 34519, 543 N.E.2d 518, 521 (4% Dist. 1989)).

Finally, like the United States Supreme Court, the MWinois Supreme Court has recognized
that where the right in question is conferred for the benefit of the public at large rather than solely
for the private benefit of individuals, the right is nonwaivable. See Recht v. Kelly, 82 Ml. 147,

1876 WL 10157, *1 (Ill. 1876) (holding that an agreement to forego the benefit of a statute

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exempting property from levy and sale where the owner was the head of household was void
because “[fJaws enacted from considerations of public concern, and to subserve the general
welfare, cannot be abrogated by mere private agreement”), and like the United States Supreme
Court’s recognition in Brooklyn Sav. Bank that the FLSA embodies a public right, Illinois courts
have recognized that both the IMWL and the WPCA involve public rights. See Reinke, 319 Ill.
App. 3d 721, 746 N.E.2d at 16 (“We believe a section 12(b) [IMWL] action asserts a right
belonging to the general public. . . . The legislature likely believed an action by a State agency to
enforce compliance with a wage law involved a public right .. . .”); Martin v. Schwartz Oil, 203
I. App. 3d 903, 561 N.E.2d 201, 203 (1990) (“The purpose of the IMWL is to ensure adequate
wage standards for the benefit of both workers and the taxpayers, and a violation of the law is a
breach of public policy. . .. The State has a clear and definite interest in enforcing this policy.”);
see Lipkowitz, 225 Ill. App. 3d 980, 589 N.E.2d at 185 ([WPCA). Indeed, the fact that both the
IMWL and IWPCA authorize the Director of the Illinois Department of Labor to enforce actions

§ “expresse[s

under their respective statutes and to expend State resources to enforce the statutes
the legislature’s] intent to benefit the public generally.” See Lipkowitz, 225 Vil. App. 3d 980, 589
N.E.2d at 185.

Thus, based on the similar purposes of the FLSA and IMWL (and IMWL and IWPCA)
the judicial recognition that these statutes involve public rights, the long history of United States
Supreme Court interpretation of the FLSA prohibiting release of such claims, and the Illinois

common law rule that laws enacted to serve a public concern cannot be abrogated by mere

private agreement, of which the legislature is presumed to be aware, see Fink v. Ryan, 174 Tll.2d

 

§ see IMWL, 820 ILCS 105/12(b) & 11(d), and IWPCA, 820 ILCS Lis/l1.

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302, 673 N.E.2d 281, 285 (III. 1996) (“Where statutes are enacted after judicial opinions are
published, it must be presumed that the legislature acted with knowledge of the prevailing case
law.”) (quotation omitted), the court concludes that it would be against the public policy of the
IMWL and IWPCA to permit the parties to release their claims thereunder, unless expressly
allowed by these statutes. However, the express language of the IMWL and IWPCA, set forth
supra, if not explicit, is at least implicitly consistent with the public policy prohibiting private
releases.’

Defendants only argument countering the public policy is that unlike the FLSA, which
expressly provides for a means by which employers can settle with and obtain releases from
employees via the United States Department of Labor pursuant to section 16(c) of the FLSA,* the
IMWL does not contain an equivalent provision,” and, therefore, the Hlinois legislature must not

have meant to prohibit employers from entering into private settlements with its employees. See

 

7Defendants also point to language in the IMWL, 820 ILCS 105/12(a), not cited by plaintiffs, that “any
agreement between [an employee] and his employer to work for less than such wage is no defense to [an] action” and
argue that such language “must mean that an employer and employee cannot agree prospectively that an employee
will work for less than minimum wage or will waive payment of overtime compensation. It does not mean that, in
face of a claim or dispute, the parties cannot settle their disputes without filing a claim in court.” (See Defs.” Resp. at
7-8 n. 2), For the reasons set forth in the text, the court rejects defendants’ argument. Nevertheless, the letter and
release at issue here do not even purport to refer to a disputed claim of the particular employee signing the release
(they also do not set out an agreement between the individual employee and defendant as to the amount of time
worked and the amount paid for that time). The release is general and “releases . . . the Company from any and all...
_claims . . . or any other liability relating to claims for overtime or straight-time compensation . . . through the date
of the execution of the release,”and the letter is addressed to “All Field Forces” and references a general “claim that
some employees have not been paid properly, including time spent in safety meetings” apparently in reference to the
class action. (See Pls.” Mem. in Supp. of Mot., Ex. A.) (Emphasis added.)

&The Secretary is authorized to supervise the payment of the unpaid minimum wages or the unpaid
overtime compensation owing to any employee or employees under section 206 or section 207 of this title, and the
agreement of any employee to accept such payment shall upon payment in full constitute a waiver by such employee
of any right he may have under subsection (b) of this section to such unpaid minimum wages or unpaid overtime
compensation and an additional equal amount as liquidated damages... .” 29 U.S.C. § 216(c).

°Neither the IMWL nor the IWPCA contains a provision for release of claims after approval by the Illinois

Department of Labor, although the legislature has included such a provision with respect to the Illinois Workers
Compensation Act, 820 ILCS 305/23.

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Defs.’ Resp. at 7-8 (citing, inter alia, Walton, 786 F.2d at 306)."° Prior to the enactment of
section 16(c) of the FLSA, the only recognized way to settle claims with an employee was
through a court-approved stipulated settlement. See generally Walton, 786 F.2d at 306; Lynn's
Food Stores, 679 F.2d at 1353 (citing Schulte, Inc. v. Gangi, 328 U.S. 108, 66 S. Ct. 925, 928 n.8
(1946)).

The court concludes that even if the legislature did not include an equivalent provision in
the IMWL and IWPCA this does not ipse facto mean that the legislature meant to open the doors
to all private settlements and releases. Rather, in light of the public policy behind the IMWL and
IWPCA and the strong interests in protecting the equality of bargaining positions between
employer and employee, the opposite conclusion is warranted, namely, that the legislature was
aware of the implications attendant in limiting the means by which parties could settle, even if
limiting it only to court-approved settlements. Cf Brooklyn Sav. Bank, 324 U.S. at 713 (“Failure
to provide a method of waiving claims under the [FLSA] can support contrary inferences, that
such waivers were to be allowed or that the provisions of the Act state a settled policy which
cannot be modified by private contracts. We are of the opinion that the legislative history and
provisions of the Act support a view prohibiting such waiver.” And even though “in individual
cases, hardship may result, the restriction will enure to the benefit of the general class of
employees in whose interest the law is passed, and so to that of the community at large.”)

(internal citation and quotation omitted). In any event, both the IMWL and the WPCA provide

 

181 Walton, the Seventh Circuit, in describing the scheme under the FLSA, stated that “a prohibition of
settlement ensures costly litigation, even though the parties might be able to compromise their dispute without
subverting the principles of the [FLSA]” and noted that “Section 16(c) creates the possibility of a settlement,
supervised by the Secretary {of Labor] to prevent subversion, yet effective to keep out of court disputes that can be
compromised honestly.” 786 F.2d at 306.

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for the Director of the Illinois Department of Labor to enforce actions under these respective
statutes, the IMWL specifically permits the Director to “supervise payment of the unpaid
minimum wages and unpaid overtime compensation,” see 820 ILCS 105/12(b)," and, it appears
that, in at least one case, a payment under the “supervision” provision of the IMWL led to the
release of the employee’s claims."

Because releases under the IMWL and IWPCA as well as the FLSA are void as a matter
of law, the court grants plaintiffs’ motion to void the releases and strike defendants’ fourth
affirmative defense.

NOTICE

The plaintiffs also request that the court order a court-approved notice to each person who
received a release stating that the release is void in its entirety, that signing it does not prohibit
participation in this litigation and defendants cannot retaliate against anyone for participating in
the lawsuit."2 Federal Rule of Civil Procedure 23(d) provides that in the conduct of class actions,
“the court may make appropriate orders: . . . requiring, for the protection of the members of the

class or otherwise for the fair conduct of the action, that notice be given in such manner as the

 

11The Director is authorized to supervise the payment of the unpaid minimum wages and the unpaid
overtime compensation owing to any employee or employees under Sections 4 and 4a of this Act and may bring any
legal action necessary to recover the amount of the unpaid minimum wages and unpaid overtime compensation and
an equal additional amount as punitive damages, and the employer shall be required to pay the costs. Any sums thus
recovered by the Director on behalf of an employee pursuant to this subsection shall be paid to the employee or
employees affected. Any sums which, more than one year after being thus recovered, the Director is unable to pay to
an employee shall be deposited into the General Revenue Fund. 820 ILCS 105/12(b).

12 S0e Ecker v. Big Wheels, Inc., 136 Ill. App. 3d 651, 483 N.E.2d 639, 641-42 (4" Dist. 1985) (affirming
district court where an employee had requested the DOL collect his claim, employee accepted payment and district
court held that the acceptance of amount determined by DOL constituted an accord and satisfaction and “released the
claims”).

This court already approved a notice with respect to the FLSA claims that a release does not bar the FLSA

suit. See Notice of Lawsuit Alleging Violation of Wage and Hour Requirements of Fair Labor Standards Act,
December 15, 2000. .

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court may direct to some or all of the members of any step in the action, ... .” Fed. R. Civ. P.
23(d). Communications that contain incorrect information are particularly a subject of “a
curative notice from the court, at the expense of those at fault.” See MANUAL FOR COMPLEX
LITIGATION § 30.24 (3d ed. 1995). Moreover, “[i]f improper communications occur, curative
action may be necessary, such as extending deadlines for opting out .. . or voiding improperly
solicited opt outs.” Jd. Because the letter and release sent out by defendants contained incorrect
information as to the ability to waive the claims at issue in this lawsuit, the court grants
plaintiffs’ request. Id.; cf Georgine v. Amchem Prods., Inc., 160 F.R.D. 478, 498-502 (E.D. Pa.
1995) (second notice and opt-out period to rectify misleading communications warranted even
though class was already certified).
CONCLUSION

For the reasons stated above, the court GRANTS plaintiffs’ motion to strike defendants’
fourth affirmative defense, void the releases, and require notice be sent regarding the void
releases [#57]. The court orders the parties to prepare a notice for court approval informing all
potential plaintiffs who have been provided a release that such release is unenforceable in its
entirety and otherwise advising them of the opportunity to participate in the lawsuit. A status

hearing is set for November 26, 2001 at 9:30 a.m.

ENTER: aod L boKefb-——

Roan HUMPHREY LEFKOW
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ted States District Judge

Dated: November 7, 2001

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